                        Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 1 of 43

 Fill in this information to identify the case
 Debtor name          Ventech Engineers L.P.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                          Check if this is an
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Frost Bank                                                    Checking account                    0   9   4     4                   $13,463.44
3.2.    Bank of America                                               Checking account                    8   7   9     6                    $2,485.70
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $15,949.14


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
                        Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 2 of 43
Debtor         Ventech Engineers L.P.                                                        Case number (if known)
               Name

                                                                                                                           Current value of
                                                                                                                           debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

8.1.    Prepaid Insurance
        See Attachment                                                                                                               $88,177.01
8.2.    Legal Fees to Andrews Kurth Kenyon LLP                                                                                     $100,000.00
8.3.    Authorized Debtors' Representative
        Kefalari Mason
        13810 Majestic Spring Lane
        Humble, TX 77396                                                                                                             $25,000.00
9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                   $213,177.01


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest
11. Accounts receivable

11a. 90 days old or less:           $1,969,668.24            –            $1,969,668.24               = ..............                    $0.00
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                   $0.00               –                 $0.00                  = ..............                    $0.00
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                           $0.00


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                              Valuation method             Current value of
                                                                                              used for current value       debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                 % of ownership:
15.1.      See attached                                                                                                                    $0.00




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                            page 2
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 3 of 43
Debtor       Ventech Engineers L.P.                                                  Case number (if known)
             Name

16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

         Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                  $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes. Fill in the information below.

     General description                         Date of the     Net book value of     Valuation method           Current value of
                                                 last physical   debtor's interest     used for current value     debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                  $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method           Current value of
                                                                 debtor's interest     used for current value     debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 4 of 43
Debtor       Ventech Engineers L.P.                                                     Case number (if known)
             Name

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                  $0.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 5 of 43
Debtor        Ventech Engineers L.P.                                                     Case number (if known)
              Name

      General description                                          Net book value of      Valuation method                Current value of
      Include year, make, model, and identification numbers        debtor's interest      used for current value          debtor's interest
      (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                          $0.00

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent      Net book value of     Valuation method       Current value of
       Include street address or other description    of debtor's interest   debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property            (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 6 of 43
Debtor       Ventech Engineers L.P.                                                      Case number (if known)
             Name

     General description                                           Net book value of       Valuation method         Current value of
                                                                   debtor's interest       used for current value   debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

     Pending patent with USDG - information housed
     at data room with Donlin Recano                                       Unknown                                                  $0.00
61. Internet domain names and websites

     Website : http://www2.ventech-eng.com/

     Registered through 6 NOV 17 with Register.com
     Currently being hosted with Godaddy                                   Unknown                                                  $0.00
     3 SSL certificates for barracuda.ventech-
     eng.com, epic.ventech-eng.com, and
     outlook.ventech-eng.com that are purchased
     through Godaddy

     Expire 4/28/17, 5/29/17, and 12/15/18
     respectively.                                                                                                                  $0.00
62. Licenses, franchises, and royalties

     License's, franchises, and royalties                                  Unknown                                                  $0.00
63. Customer lists, mailing lists, or other compilations

     Customer lists, mailing lists located in data
     room with Donlin Recano                                               Unknown                                                  $0.00
64. Other intangibles, or intellectual property

     Information in data room with Donlin Recano                           Unknown                                                  $0.00
65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                    $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                       page 6
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 7 of 43
Debtor       Ventech Engineers L.P.                                                    Case number (if known)
             Name

                                                                                                                         Current value of
                                                                                                                         debtor's interest
71. Notes receivable

     Description (include name of obligor)

     Ventech GP, Obligor                                              $302,132.47     –           $302,132.47     =                     $0.00
                                                                  Total face amount   doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Malpractice claim against Gardere Wynne Sewell LLP related to IC-DISC tax advice that
     resulted in tax penalties for 2012 and 2013                                                                                 $517,423.61
     Nature of claim             Malpractice Claim
     Amount requested            $517,423.61

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                 $517,423.61

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                           page 7
                           Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 8 of 43
Debtor          Ventech Engineers L.P.                                                                          Case number (if known)
                Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                       $15,949.14
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                    $213,177.01

82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                           $0.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                                 $0.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                        $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                     $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +       $517,423.61

91. Total. Add lines 80 through 90 for each column.                    91a.           $746,549.76           +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $746,549.76




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                    page 8
                      Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 9 of 43

 Fill in this information to identify the case:
 Debtor name         Ventech Engineers L.P.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                   Check if this is an
 (if known)                                                                                                     amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                   12/15
Be as complete and accurate as possible.

1.   Do any creditors have claims secured by debtor's property?

    No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
    Yes. Fill in all of the information below.


 Part 1:       List Creditors Who Have Secured Claims
2.   List in alphabetical order all creditors who have secured claims. If a creditor has more           Column A               Column B
     than one secured claim, list the creditor separately for each claim.                               Amount of claim        Value of collateral
                                                                                                        Do not deduct the      that supports
                                                                                                        value of collateral.   this claim




3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the
     Additional Page, if any.                                                                             $13,186,763.70


Official Form 206D                      Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
                      Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 10 of 43
Debtor       Ventech Engineers L.P.                                                       Case number (if known)

 Part 1:       Additional Page                                                                            Column A               Column B
                                                                                                          Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                 Do not deduct the      that supports
sequentially from the previous page.                                                                      value of collateral.   this claim

 2.1     Creditor's name                                  Describe debtor's property that is
         Bank of America                                  subject to a lien                                $13,186,763.70                     $0.00

         Creditor's mailing address                       All Assets
         700 Louisiana Street, 8th Floor                  Describe the lien
         Houston, TX 77002                                Arising under Letter of Credit Facility
         Attn Thomas Czerwinski                           Is the creditor an insider or related party?
                                                           No
         Creditor's email address, if known                Yes
         thomas.czerwinski@bankofamerica.comIs anyone else liable on this claim?
         Date debt was incurred       5/22/14                No

         Last 4 digits of account                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                       8    7    9    6    As of the petition filing date, the claim is:
         Do multiple creditors have an interest in        Check all that apply.
         the same property?                                  Contingent

            No                                              Unliquidated

            Yes. Specify each creditor, including this      Disputed
             creditor, and its relative priority.

         The Debtor and Bank of America are parties to that certain Credit Agreement, dated as of May 22, 2014 (as has been
         or may be further amended, restated, supplemented or otherwise modified from time to time, the "Credit
         Agreement"), pursuant to which Bank of America agreed to (a) loan to the Debtor under the Working Capital Facility
         an aggregate amount not to exceed the Working Capital Facility Committed Amount ($5,000,000), and (b) issue
         Letters of Credit under the LC Facility in the aggregate amount up to $45,000,000. Bank of America issued certain
         letters of credit related to the Debtor's projects pursuant to the Credit Agreement. If these letters of credit are
         drawn by the beneficiary, Bank of America will have a claim for reimbursement against the Debtor with such claim
         secured by the Debtor's assets.

         Prior to the petition date, Taq Taq Operating Company Limited (TTOPCO), a beneficiary on a number of letters of
         credit, released $18,000,000.00 of outstanding letters of credit thus reducing the contingent reimbursement claim
         that Bank of America could have against the Debtor. Approximately $11,596,763.70 of letters of credit remain
         outstanding available to TTOPCO to cover contingent claims that may arise during the TTOPCO warranty period,
         which expires at the end of February 2018. As of the petition date, there has been $1,600,000.00 drawn on one of the
         letters of credit and Bank of America has a secured reimbursement claim under the Working Capital Facility against
         the Debtor for this amount. The remaining amount of any reimbursement claim is contingent upon TTOPCO drawing
         on the letters of credit during the warranty period. The value of the collateral that supports Bank of America's
         reimbursement claim is unknown.




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 11 of 43

 Fill in this information to identify the case:
 Debtor              Ventech Engineers L.P.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the            $562,500.00           $12,850.00
                                                                claim is: Check all that apply.
Ian Anderson
48 Sugar Berry Circle                                              Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:
Houston                               TX      77024             Employment Agreement; Severance
Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 12 of 43
Debtor         Ventech Engineers L.P.                                                   Case number (if known)

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:               $1,500,000.00
                                                                    Check all that apply.
Buckeye Texas Processing LLC                                         Contingent
1 Greenway Plaza                                                     Unliquidated
Suite 600                                                            Disputed
                                                                    Basis for the claim:
Houston                                   TX        77046           Long term note

Date or dates debt was incurred                                     Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes

     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                         $0.00
                                                                    Check all that apply.
Doeren Mayhew                                                        Contingent
One River Drive, Ste 1200                                            Unliquidated
                                                                     Disputed
                                                                    Basis for the claim:
Houston                                   TX        77066           Expenses

Date or dates debt was incurred                                     Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes

     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:               $1,946,672.00
                                                                    Check all that apply.
Five Star Properties                                                 Contingent
P.O. Box 1042                                                        Unliquidated
Seabrook, TX 77586                                                   Disputed
Attn: Marc Stanley                                                  Basis for the claim:
                                                                    Lease Agreement

Date or dates debt was incurred          7/1/2008                   Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes

     3.4   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $2,000.00
                                                                    Check all that apply.
Gr Palmer Consulting Services LLC                                    Contingent
7 Caswell Drive                                                      Unliquidated
Greenland, NH, 03840                                                 Disputed
                                                                    Basis for the claim:
                                                                    Trade Debt

Date or dates debt was incurred                                     Is the claim subject to offset?

Last 4 digits of account number
                                                                     No
                                                                     Yes



Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 13 of 43
Debtor       Ventech Engineers L.P.                                                 Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.5     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $17,500.00
                                                                Check all that apply.
Joerg Matthiessen                                                Contingent
222 12th Street                                                  Unliquidated
Unit 2107                                                        Disputed
AtlantaGA30309                                                  Basis for the claim:
                                                                Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.6     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $60,435.00
                                                                Check all that apply.
King & Spalding                                                  Contingent
P.O. Box 116133                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Atlanta                                GA       30368-6133      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.7     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:             $11,000.00
                                                                Check all that apply.
Robert H Walls, Jr                                               Contingent
132 Park Hill Dr.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Antonio                            TX       78212           Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.8     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:              Unknown
                                                                Check all that apply.
Taq Taq Operating Company                                        Contingent
Next Level Is Mrk.Eskisehir                                      Unliquidated
yolu Dumulpinar Bulv. No: 3A/ 96-97                              Disputed
Sogufozu, Ankara, Turkey                                        Basis for the claim:
                                                                Potential Warranty Claim

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 14 of 43
Debtor       Ventech Engineers L.P.                                                 Case number (if known)

 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.               Amount of claim

  3.9    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $0.00
                                                                Check all that apply.
TexStar Midstream Services, LP                                   Contingent
18615 Tuscany Stone                                              Unliquidated
Suite 300                                                        Disputed
                                                                Basis for the claim:
San Antonio                            TX       78258           Long term note (pending)

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.10    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:              $3,000.00
                                                                Check all that apply.
The Kreller Business Information Group                           Contingent
817 Main St                                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45202-2183      Trade Debt

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

 3.11    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:            $500,000.00
                                                                Check all that apply.
Westchester Fire Insurance Company                               Contingent
436 Walnut Street                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                           PA       19106           Long term note

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 15 of 43
Debtor      Ventech Engineers L.P.                                            Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                $562,500.00

5b. Total claims from Part 2                                                              5b.   +          $4,040,607.00


5c. Total of Parts 1 and 2                                                                5c.              $4,603,107.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 5
                      Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 16 of 43

 Fill in this information to identify the case:
 Debtor name         Ventech Engineers L.P.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                  Chapter       7                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       SEE ATTACHED LIST                               SEE ATTACHED LIST
          or lease is for and the       Contract to be ASSUMED
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1
                      Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 17 of 43

 Fill in this information to identify the case:
 Debtor name         Ventech Engineers L.P.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number                                                                                                       Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    See Attached                                                                           Bank of America                      D
                                       Number      Street
                                                                                                                                   E/F
                                                                                                                                   G


                                       City                           State   ZIP Code


2.2    Ventech Engineers               100 Pasadena Blvd.                                     Five Star Properties                 D
       International LLC               Number      Street
                                                                                                                                   E/F
                                                                                                                                   G

                                       Pasadena                       TX      77506
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                             Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 18 of 43

 Fill in this information to identify the case:


 Debtor Name Ventech Engineers L.P.

 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF TEXAS

 Case number (if known):                                                                                                                                                                  Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                 $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                          $746,549.76

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                         $746,549.76


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                   $13,186,763.70

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                        $562,500.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +    $4,040,607.00


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $17,789,870.70




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 19 of 43
Ventech Engineers L.P.
Attachment 8 - Form 206, Part 2 Question 8
Prepayments

                                                                                                  VI - PREPAID INSURANCE AMORTIZATION
                                                                                                          ACCT #0610-00 CO# 002
                                                                                                                  FY 2017

                                                                                              Policy Period        Policy                  GL Code
                                                                                                                             Monthly               Beg balance                                                                                                                 Prepaid
           Agent/Insurance Carrier            Policy Type           Policy #   Premium                            Period                   Expense               Jan-17     Feb-17     Mar-17                                          Apr-17 May-17 Dec-17
                                                                                           Date From   Date To              Amortization             1/1/17                                                                                                                    @ Y-T-D
                                                                                                                  (mths.)                     To


MARSH USA AGENCY INC.                         2011 - 2017                      30,000.00    10/2/11     9/2/17      72            416.67   7595-00    3,230.26    416.67     416.67     416.67                                                                                  1,980.25

                                              2016 - 2017
MARSH USA AGENCY INC                      Director's & Officer's               36,169.00    11/1/16    10/31/17     12          3,014.08   7595-00   30,140.84   3,014.08   3,014.08   3,014.08                                                                                21,098.60

                                             2016 - 2017
TRAVELERS CASUALTY & SURETY CO. OF AMERICA Commercial Crime        105893177    6,365.00    3/12/16    2/12/17      12            530.42   7595-00    1,060.80    530.42     530.42       0.00                                                                                       -
                                                                                5,657.00    2/12/17    2/28/18      12            471.42   7595-00         -                            942.84                                                                                  4,714.16




                                                                                                                                                                                                Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 20 of 43
Landmark American Insurance Company       Commercial Property      LHD396654   58,275.00    5/3/17      5/3/18      12          4,856.25   7595-00                                                                                                                             58,275.00

TEXAS MUTUAL WORK COMP DEPOSIT                                                  9,548.00    4/1/16     3/31/17      12            795.67   2235-00    2,387.00    795.67     795.67     795.67                                                                                     (0.00)
TEXAS MUTUAL WORK COMP DEPOSIT                                                  2,109.00    4/1/17     3/31/18      12            175.75   2235-00                                                                                                                              2,109.00

    AMORTIZATION GRAND TOTAL                                                                                                                         36,818.90   4,756.84   4,756.84   5,169.26                                                                    -   -   -   88,177.01
            Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 21 of 43


Ventech Engineers L.P.
Attachment 15
Form 206, Schedule A/B, Part 4, Question 15 - Investments

Name of Entity                                      % Owned        Current Value of Interest**

Ventech Engineers LLC                                  100                     0.00
Ventech Energy LLC                                     100                     0.00
Ventech Offshore S.A.*                                 100                     0.00
Ventech Engineers International LLC                    100                     0.00
Ventech Management, Inc.*                              100                     0.00
Ventech Fabrication Services LLC                       100                     0.00
Ventech Engineers North America LLC                    100                     0.00
Ventech Engineers USA LLC                              100                     0.00
Ventech Vessel Fabricators LLC                         100                     0.00
Ventech Global Projects, Inc.                          100                     0.00
Ventech International Projects LLC                     100                     0.00
Ventech Global Construction LLC                        100                     0.00
Ventech Modular Fabricators LLC                        100                     0.00
Ventech Refining Solutions LLC                         100                     0.00
Ventech Plant Constructors LLC                         100                     0.00
Ventech Engineers & Fabricators LLC                    100                     0.00
Ventech Industrial Contractors LLC                     100                     0.00
Ventech XTL LLC                                        100                     0.00


* Non-debtor

** The book value may be different from the estimated current value of interest.
Attachment to Form 206G --- Schedule G: Executory Contracts


Entity            Name                              Address                                   City          State Zip    Type of Contract
All               DENNIS SMITH                      195 N HARBOR DRIVE, #5303                 Chicago         IL   60601  Director/Officer Indemnification
All               JOERG MATTHIESSEN                 222 12TH STREET, UNIT 2107                Atlanta        GA 30309     Director/Officer Indemnification
All               JOHNNY VIRGIN                     2128 Pebble Beach Dr.                     LEAGUE CITY    TX    77573  Director/Officer Indemnification
All               KEFALARI MASON                    13810 Majestic Spring Lane                Humble         TX    77396  Director/Officer Indemnification
All               KEVIN STANLEY                     12445C Park Shadows Trail - B             HOUSTON        TX    77058  Director/Officer Indemnification
All               LAURA HOTARD                      1874 Round Rock Street                    FRIENDSWOOD    TX    77546  Director/Officer Indemnification
All               OLIVER PUSKAC                     9014 Elizabeth Road                       HOUSTON        TX    77055  Director/Officer Indemnification
All               BRUCE SMITH                       400 ELIZABETH ROAD                        San Antonio    TX    78209  Director/Officer Indemnification
All               IAN ANDERSON                      48 Sugar Berry Circle                     HOUSTON        TX    77024  Director/Officer Indemnification




                                                                                                                     Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 22 of 43
All               ROBERT H WALLS, JR                132 PARK HILL DR                          San Antonio    TX    78212  Director/Officer Indemnification
All               SCOTT MCCLARY                     2903 Bay Isle,                            Houston        TX    77059  Director/Officer Indemnification
All               Kreg Stanley                      700 Oak Park Ct.                          FRIENDSWOOD    TX    77546  Director/Officer Indemnification
All               Bill Stanley                      12445 B Park Shadow                       HOUSTON        TX    77058  Director/Officer Indemnification
All               Mitch Taylor                      1114 AVENUE OF THE AMERICAS, 41st Floor   New York       NY    10036  Director/Officer Indemnification
All               Steve Cooper                      1114 AVENUE OF THE AMERICAS, 41st Floor   New York       NY    10036  Director/Officer Indemnification
All               Martin Siddle                     6008-F Glencove Street                    HOUSTON        TX    77007  Director/Officer Indemnification
All               Rick Stockton                     3311 Castle Creek Ct.                     LEAGUE CITY    TX    77573  Director/Officer Indemnification
VELP, VEILLC      Stanley Investment Partners Inc   P. O. Box 1042                            Seabrook       TX    77586  Fabrication shop lease
All               Matt Boyer                        1114 AVENUE OF THE AMERICAS, 41st Floor   New York       NY    10036  Director/Officer Indemnification
Ventech XTL OKC   Meitec, Inc.                      2800 Veterans Blvd, Suite 260             Metairie        LA   70002 project subcontract
Ventech XTL OKC   ParFab Field Services, LLC        15615 E. 590 Road                         Inola          OK 74036 project subcontract
All               Bank of America                   700 Louisiana Street, 8th Floor           Houston        TX    77002  banking credit agreement
Entity              Name                                              Address                                                               City           State      Zip      Type of Contract
VEILLC               KEFALARI MASON                                    13810 Majestic Spring Lane                                            Humble         TX          77396 employment agreement (severance and retention bonus)
VEILLC               LAURA HOTARD                                      1874 Round Rock Street                                                FRIENDSWOOD    TX          77546 employment agreement (severance)
VEILLC               OLIVER PUSKAC                                     9014 Elizabeth Road                                                   HOUSTON        TX          77055 employment agreement (severance and signon bonus)
VELP                 IAN ANDERSON                                      48 Sugar Berry Circle                                                 HOUSTON        TX          77024 employment agreement (severance)
VELP                 Mass Mutual                                       11001 N Black Canyon Hwy                                              Phoenix        AZ          85029 employee 401K program
Ventech Engineers    Omni Fire & Protection                            600 Kenrick Ste A1                                                    Houston        TX          77060 building card reader system maintenance
Ventech Engineers    Carrier Corporation                               9350 Kirby Drive, Ste 300                                             Houston        TX          77054 HVAC maintenance
VEILLC               C&S Janitorial Services Inc                       6611 Theall Road                                                      Houston        TX          77066 janatorial services
VEILLC               Access Service Team                               Box 7732                                                              Pasadena       TX          77508 electrical services, on call
Ventech Engineers    Trippe Electric                                   3110 Tigerpoint Road                                                  Brenham        TX          77833 electrical services, on call
Ventech XTL OKC      Velocys                                           7950 Corporate Blvd                                                   Plain City     OH          43064 ENVIA project contract
Ventech XTL OKC      Energy Electrical Distribution                    6575 Hinson Street 1510 East Second Street                            Odessa         TX          79761 ENVIA project contract
Ventech XTL OKC      Hydro-Chem, A division of LENA                    125 Hickory Springs Industrial                                        Canton         GA          30115 ENVIA project contract
Ventech XTL OKC      Gastech Engineering Corp.                         P.O. BOX 35354 1007 East Admiral Blvd. Tulsa, OK 74120                TULSA          OK     74153-1354 ENVIA project contract
Ventech XTL OKC      Turbine, Pump and Compressor, LLC.                3203 Lilac                                                            Pasadena       TX          77505 ENVIA project contract
Ventech XTL OKC      AMETEK Process & Analytical Instruments Div.      2876 Sunridge Way N.E.                                                Calgary        AB        T1Y 7H9 ENVIA project contract
Ventech XTL OKC      Elliott Company                                   901 North Fourth Street                                               Jeannette      PA     15644-1474 ENVIA project contract




                                                                                                                                                                                    Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 23 of 43
Ventech XTL OKC      Colt Services & Insulation                        4470 S. 70th. E Ave                                                   Tulsa          OK          74145 ENVIA project contract
Ventech XTL OKC      ZEOCHEM LLC                                       1600 West Hill Street                                                 Louisville     KY          40210 ENVIA project contract
Ventech Engineers    Turbine, Pump and Compressor, LLC.                3203 Lilac                                                            Pasadena       TX          77505 KAR project contract
VEILLC               Bureau Veritas                                    PO BOX 277908                                                         Atlanta        GA          30384 master service agreement for project related work
VEILLC               Furmanite                                         PO Box 647088 101 Old Underwood Bldg. F. LaPorte, tx 77571            Dallas         Tx     72567-4088 master service agreement for project related work
VEILLC               IRISNDT                                           4649 S. Sam Houston Parkway E.                                        Houston        Tx          77048 master service agreement for project related work
VEILLC              Mandes Inspection                                 14403 "A" East Freeway                                                Houston        Tx             77015 master service agreement for project related work

VEILLC              MTB Quality Consultants                           1006 West Sterling                                                    Baytown        TX           77520 master service agreement for project related work
VEILLC              Omega Engineering Inc.                            16360 Park Ten Place, Ste 325                                         Houston        TX           77084 master service agreement for project related work
VEILLC              Phoenix NDT                                       8835 Miller Road 2                                                    Houston        Tx           77049 master service agreement for project related work
VEILLC              RPM                                               2765 Dawson Road                                                      Tulsa          OK           74110 master service agreement for project related work
VEILLC              Savoy Tech Services                               P.O. Box 143 4301 Highway 27 S                                        Sulphur        LA      70664-0143 master service agreement for project related work
VEILLC              Smith & Burgess                                   7600 W Tidwell Rd, Ste 600                                            Houston        Texas   77040-5738 master service agreement for project related work
VEILLC              Sun Packing                                       MidSouth Bank N.A. PO Box 3307                                        Layfayette     LA           70502 master service agreement for project related work
VEILLC              TechCorr USA, LLC                                 PO Box 494946 1485 E Sam Houston Pkwy S Ste 160, Pasadena, TX 77503   Garland        Texas        75043 master service agreement for project related work
VEILLC              Texas Stress                                      1304 Underwood Rd.                                                    LaPorte        TX           77571 master service agreement for project related work
VEILLC              Total Industrial Services                         7020 Zoltowski Street                                                 Houston        TX           77020 master service agreement for project related work
VEILLC              Wood Group/Mustang                                16001 Park Ten Place                                                  Houston        TX           77084 master service agreement for project related work
VEILLC/VELP         Blue Cross and Blue Shield of Texas               1800 West Loop South, Ste 600                                         Houston        TX           77027 employee health insurance
VEILLC/VELP         The Guardian Life Insurance Company of America,   7 Hanover Square,                                                     New York       NY           10004 employee dental, vision, LTD, STD, life insurances
Attachment to Form 206G --- Schedule G: Executory Contracts


                                                                              Project /
Counterparty                          Debtor Entity                           Project No.   Type of Work            Client Representative                   Email Address                     Party Name and Physical Address                                                 Telephone:

GTL Joint Venture, LLC (Envia)        Ventech XTL,Ventech XTL OKC, and VELP   Envia         Start-up Assistance     Roger Harris                                                              GTL Joint Venture, LLC
                                                                              4777-xxx      Warranty Period                                                                                   Attention: Gary Blankenship
                                                                                                                                                                                              1021 Main Street
                                                                                                                                                                                              Houston, Texas, 77002

Jabil Qiwan General Trading LLC       Ventech International Projects          Qiwan         Exchanger Orders        Saad (Owner)                            saad@qaiwangroup.com              Jabil Qiwan General Trading LLC                                                 Iraq +9647710286204
                                                                              4744-xxx      Field Personnel         Peter Baylis (PM)                       peter.baylis@qaiwangroup.com      P.O.Box 39949                                                                   Dubai +971501511251
                                                                                                                    Thierry Desanti (Plant Manager)         thierry.desanti@qaiwangroup.com   Al Owais Business Tower, 17 th Floor
                                                                                                                                                                                              Nasser Square, Deira, Dubai
                                                                                                                                                                                              UAE

Kar Oil Refining Ltd                  Ventech Engineers LLC                   Kar           Various small parts     Hilal Fawzi (Project Manager)           hilalf@erbilrefinery.com          Kar Oil Refining Ltd                                                            964-750-782-5685
                                                                              4653-xxx      orders.                                                                                           Khanzad Area Near Rapareen Police Station
                                                                                                                                                                                              District 328, Street No. 17, H




                                                                                                                                                                                                           Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 24 of 43
                                                                                                                                                                                              Erbil, Iraq

Sinclair Casper Refining Company      Ventech Refining Solutions              Sinclair      Warranty Period         James Branch (PM)                       jbranch@sinclairoil.com           Sinclair Casper Refining Company                                                Facsimile: 801-524-2878
                                                                              4798-010      till October 2017       Albert L. Gualtieri (Project Sponsor)   agualtieri@sinclairoil.com        Attention Albert L. Gualtieri
                                                                                                                                                                                              550 East South Temple
                                                                                                                                                                                              Salt Lake City, Utah 84102


Taq Taq Operating Company Limited     VELP and Ventech BV                     TTOPCO        Warranty Period         Jacques Soret (PM)                      j.soret@taqtaqopco.com            Taq Taq Operating Company Limited                                               +90-312-219-2071
                                                                              4768-011                              Onder Tekeli (Director)                 o.tekeli@ttopco.com               Bestepeler Mah. Nergis Sok. 7/8-9
                                                                                                                                                                                              Viatower, Sogutozu 06520
                                                                                                                                                                                              Ankara, Turkey

USD LLC                               Ventech Engineers International LLC     USDG          Phase 1 Study for DRU   Alexandra Batycky                       abatycky@usdg.com                 USD LLC                                                                         587-215-2093
                                                                              4818-011                                                                                                        2105, 440 2 nd Avenue SW
                                                                                                                                                                                              Calgary, AB T2P 5E9
                                                                                                                                                                                              Attention:     Alexandra Batycky
                                                                                           Ventech Engineers, LP
                                                                                            Insurance Summary
                                                                                                                                                                                                                                                   Incl
                                                                                                                                                                                                                                                   Taxes
                                   Broker                     Carrier                      Policy Number            Policy Period                           Limits                                                                                 & Fees   Premium    Prior Year Premium
Commercial Crime                   Wortham   Travelers Casualty & Surety Co. of America      105893177             2/12/2017-2018     $1,000,000 Employee Theft                                                                                              $6,365
                                                                                                                                      $1,000,000 Premises Theft
                                                                                                                                      $1,000,000 In Transit Theft
                                                                                                                                      $1,000,000 Forgery
                                                                                                                                      $1,000,000 Computer Fraud
                                                                                                                                      $1,000,000 Funds Transfer Fraud
                                                                                                                                      $1,000,000 Money Order Theft
                                                                                                                                      $1,000,000 Credit Card Theft
                                                                                                                                         $10,000 Deductible



Director's & Officers/Employment
Practices Liability/Fiduciary       Marsh                   HCC Global                    #14-MGU-16-A39150        11/1/2016-2017     $5,000,000 D&O Limit of Liability                                                                                     $36,169         $32,436
                                                                                                                                         $25,000 D&O Retention




                                                                                                                                                                                Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 25 of 43
                                                                                                                                      $5,000,000 EPL Limit of Liability
                                                                                                                                       $100,000 EPL Retention (previously 50K)
                                                                                                                                      $1,000,000 Fiduciary Limit of Liability
                                                                                                                                              $0 Fiduciary Retention
Workers Compensation               Wortham             Texas Mutual Ins. Co                TSF10001155711          3/31/2016-2017     $1,000,000 Bodily Injury Each Accident                                                                                $63,652
                                                                                                                                      $1,000,000 Bodily Injury Policy Limit
                                                                                                                                      $1,000,000 Disease Each Employee
Property (100 Pasadena Blvd)       Wortham          Landmark American Ins. Co.               LHD392366             5/03/2016-2017    $11,176,000 Business /Real Property                                                                                    $58,275         $76,584
                                                                                                                                                   Deductible:
                                                                                                                                         $25,000 All Other Perils, except
                                                                                                                                         $50,000 Vandalism and Mischief
                                                 Westchester Surplus Lines Ins. Co.         D37407185003                                       3% Wind/Hail Associated
                                                                                                                                                     w/ Named Storm
                                                                                                                                                   Subject to $50,000 minimum
                                                                                                                                         $50,000 All Other Wind/Hail
General Liability                  Wortham       Westchester Surplus Lines Ins. Co.         G24254392003           7/01/2016-2017     $2,000,000 General Aggregate Limit                                                                           Yes      $144,375       $138,481
                                                                                                                                      $2,000,000 Prods/Com Ops Aggregate
                                                                                                                                      $1,000,000 Pers & Adv Injury
                                                                                                                                      $1,000,000 Each Occurrence
                                                                                                                                       $100,000 Fire Damage
                                                                                                                                          $5,000 Medical Expense
Excess Liability                   Wortham             AXIS Surplus Ins. Co.              EAU733456012015          7/01/2016-2017    $10,000,000 Aggregate                                                                                         Yes      $101,000       $114,457
                                                                                                                                     $10,000,000 Products Aggregate
                                                                                                                                     $10,000,000 Per Occurrence
Special Coverage                   Wortham                Hiscox Ins. Co.                  UKA300369315            2/12/2015-2018     $1,000,000 Basic Limit (3-yr policy)                                                                                   $9,576
Automobile                         Wortham     Travelers Casualty Ins. Co. of America       BA3D67998A             7/01/2016-2017     $1,000,000 Combined Single Limit                                                                                      $23,380         $42,175
Contractor’s Equipment             Wortham            Travelers Lloyds Ins. Co             QT6603215R359           7/01/2016-2017        $44,500 Scheduled Equipment                                                                                         $2,500         $7,168
                                                                                                                                       $100,000 Per item – Leased/Rented Equip
                                                                                                                                       $385,114 Scheduled Property
Foreign Commercial Package         Wortham         ACE American Insurance Co.             PHFD37985065 002         7/01/2016-2017     $1,000,000 Each Occurrence                                                                                            $67,748         $73,346
                                                                                                                                      $2,000,000 Prods/Com Ops Aggregate
                                                                                                                                      $2,000,000 General Aggregate
                                                                                                                                      $1,000,000 Pers & Adv Injury Aggregate
                                                                                                                                      $1,000,000 Premises Damage Limit Per
                                                                                                                                                      Occurrence
                                                                                                                                         $25,000 Medical Expense Any One Person
Ocean Cargo                        Wortham           Liberty Mutual Insurance             OMC3HAA21PO001           12/06/2015-2016                 Rates limits and deductibles to be                                                                       $10,000
                                                                                                                                                   agreed on a per shipment basis.
                                                                                                                                                   Please submit shipments in advance,
                                                                                                                                                   so they can be quoted by the underwriter.
                                                                                                                                                   Premium shown: "to date"



                                                                                                                                                                                                                                                            $598,040
TOTAL PREMIUM




52550502                                                                                              1                                                                                                                                                                               5/3/2017
 Overall Engineering                                                                                         ENGINEERING SOFTWARE (2015-2016-2017)
                                                                             Current
                                                                 Software                 Maintenance                                                                                           Maintenance                                                                                                   Maintenance
Sr. #   Department     Program                                               Status for               Point of Contact     Start Date        Finish Date        PO # (2016)   PO Date                        PO # (2017)                                                  PO Date          Finish Date                                     Remarks
                                                                 Requirement              Complexity                                                                                             Cost (2016)                                                                                                   Cost (2017)
                                                                             2016


   12       CSA        CADWorx Steel Professional                Required     Active      High         Alan Dean                                   12/31/2016 15-01246              9/10/2015     $1,344.00                                                                                                                  +Tax
   13       CSA        Civil 3D                                  Required     Active      Medium       Alan Dean                                    9/16/2016 15-01246              9/10/2015       $973.75                                                                                                                  +Tax
   14       CSA        Foundation3D                              Required     Active      Low          Alan Dean                                   12/31/2016                                       $773.75                                                                                                                  +Tax
   15       CSA        Infrastructure Design Suite               Required     Active      Medium       Alan Dean                                    9/16/2016 15-01246              9/10/2015     $2,090.00                                                                                                                  +Tax
   16       CSA        MAT3D                                     Required     Active      Low          Alan Dean                                   12/31/2016                                       $973.75                                                                                                                  +Tax
   17       CSA        MathCAD                                   Required     Active      Low          Alan Dean                                       42735 15-01502                  42313         817.23 17-00016                                                           1/16/2017        12/31/2017            855                    +Tax
   18       CSA        STAAD Pro                                 Required     Active      Low          Alan Dean                                       42463 15-00476                  42090        6279.54 17-00033                                                           2/16/2017          4/3/2018           4914 Surrendered 2 seats
   19       CSA        Tekla                                     Required     Active      High         Alan Dean                                       42735 16-00064                  42383        7781.01 17-00034                                                           2/16/2017        12/31/2017        7781.01
   20       E&I        DeltaV Guardian                           Required     Active      Low          Farrukh Butt                                                                                                                                                                                                          Expired on 3/1/2016
   21       E&I        InstruCalc                                Required     Active      Low          Farrukh Butt                                                                                $1,900.00                                                                                                                 Expired on 3/30/2013
   22       E&I        SILCore                                   Required     Active      Low          Farrukh Butt
   23       E&I        SKM Powertools                            Required     Active      Low          Farrukh Butt              12/2/2016          12/2/2017 16-00746              11/8/2016     $1,940.00 16-00746                                                                              12/1/2017
   24   Mechanical     Compress                                  Required     Active      Low          Abhay Jadhav              6/25/2016          6/24/2017 16-00400               6/8/2016     $6,576.14
   25   Mechanical     Disasu                                    Not Required Inactive    ---          ---                 ---               ---                ---           ---                        ---                                                                                                                                  ---
   26   Mechanical     HTRI                                      Required     Active      Low          Abhay Jadhav               6/8/2016          6/30/2017 16-00398               6/8/2016    $37,905.00
   27   Mechanical     PIPE-FLO                                  Required     Active      Low          Abhay Jadhav                                                                                 $895.00 17-00036                                                           2/23/2017           3/1/2018     $1,345.00 runs 9/16-3/18
   28   Mechanical     Solidworks                                Required     Active      Low          Abhay Jadhav
   29   Mechanical     ThermoFlow’s GT Pro/GT Master/Steam Pro   Not Required Inactive    ---          ---                 ---               ---                ---           ---                        ---                                                                                                                                  ---
   30      Piping      CADWorx P&ID Professional                 Required     Active      High         Russell Keissling                           12/31/2016                                                                              17-00019                            1/18/2017        12/31/2017     $20,680.08
   31      Piping      CADWorx Plant Pro & Equip                 Required     Active      High         Russell Keissling                           12/31/2016                                                                              17-00019                            1/18/2017        12/31/2017     $20,680.08
   32      Piping      CADWorx
                       CADWorxPlant
                               PlantPro
                                     Pro&&Equip
                                           Equip(Dongle)
                                                  (LEASE         Required     Active      Medium       Russell Keissling                           12/31/2016                                                                              17-00019                            1/18/2017        12/31/2017     $20,680.08
   33      Piping      DONGLES)                                  Not Required Unknown     ---          ---                 ---               ---                ---           ---                        ---                                                                                                                                  ---




                                                                                                                                                                                                          Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 26 of
   34      Piping      CADWorx Plant Pro & Equip Extended        Required     Active      High         Russell Keissling                           12/31/2016                                                                              17-00019                            1/18/2017        12/31/2017     $20,680.08
   35      Piping      FARO Laser Scanner                        Required     Active      Medium       Russell Keissling          6/8/2016           6/8/2017 16-00399               6/8/2016                                             16-00399                                                6/30/2017
   36      Piping      Kubit PointCloud Basic                    Required     Active      Medium       Russell Keissling         6/30/2016          6/29/2017 16-00404               6/9/2016     $2,100.00 16-00404                                                                              6/30/2017                  5 seats
   37      Piping      NavisWorks Simulate                       Required     Active      Medium       Russell Keissling         9/29/2016          9/29/2017 16-00589              9/29/2016       $945.00 16-00589
   38      Piping      Plant Design Suite Standard               Required     Active      Medium       Russell Keissling
   39      Piping      PointSense Plant                          Required     Active      Low          Russell Keissling         6/30/2016          6/29/2017 16-00404               6/9/2016     $1,525.00                                                                                                                  Per seat
   40      Piping      Raster Design                             Required     Active      Medium       Russell Keissling
   41      Piping      Scene                                     Required     Active      Low          Russell Keissling                            2/28/2017
   42      Piping      Scene                                     Required     Active      Low          Russell Keissling                            2/28/2017
   43     Process      AspenTech Suite                           Required     Active      Medium       Al Lanning                                   6/23/2016 16-00450              6/23/2017                                                                                                                                300 Tokens (Contract expires 6/17)
   44     Process      HYSYS                                     Required     Active      Low          Al Lanning                                   12/1/2016                                                                              17-00042                            12/1/2016        11/30/2017      $4,599.54 Standalone License (20 yr lease)
   45     Process      ProMax                                    Not Required Inactive    ---          ---                 ---               ---                ---           ---                        ---                                                                                                                                  ---
   46     Shared       AutoCAD                                   Required     Active      High         Russell Keissling         9/29/2016          9/29/2017 16-00589               9/8/2016    $10,900.00 16-00589                                                                                                         20 Seats
   47      Stress      Caesar II                                 Required     Active      Medium       Abhay Jadhav                                12/31/2016
   48      Stress      Caesar II Extended                        Required     Active      Medium       Abhay Jadhav                                12/31/2016                                                                              17-00017                           12/31/2016        12/31/2017      $9,664.56 includes tax. 2 seats
   49      Stress      Nozzle Pro                                Required     Active      Low          Abhay Jadhav              2/10/2016          2/10/2017 16-00149              2/10/2016     $1,704.94 17-00035                                                           2/16/2017         2/28/2018      $1,704.94




                                                                                                                                                       Page 1 of 1
 Ventech Co.       Party         Agreement         Date of       Duration   Duration      Date        Protection   Protection                                                                   Date        Comments
                                   Type           Execution      (Years)    (Months)   Disclosure      Duration     Duration                                                                 Protection
                                                                                          Ends         (Years)      (Months)                                                                   Ends

Ventech        Phillips        Confidentiality       4/27/2000     100                    4/27/2100                                                                                             4/27/2100
Engineers      Petroleum
Ventech        Chevron         Non-Disclosure       10/20/2000     100                   10/20/2100                                                                                            10/20/2100
Engineers      Lummus          Agreement
               Global(Re:
               Rain)
Ventech        Neticum Ltd     Non-circumvent       10/15/2001     100                   10/15/2101                                                                                            10/15/2101
Engineers                      & Non-
                               Disclosure

Ventech        UOP             Disclosure Non-        2/6/2002     100                     2/6/2102                                                                                              2/6/2102




                                                                                                                          Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 27 of 43
Engineers                      Disclosure –
                               Unicracking &
                               Distillate
                               Unionfining
                               Processes

Ventech        Huntsman        Confidentiality       3/24/2003     100                    3/24/2103       0                                                                                     3/24/2103
Engineers      Petrochemica    Agreement
               l Corp.
               Merichem        Confid.               7/30/2003     100                    7/30/2103                                                                                             7/30/2103
               Chemical        Agreement
Ventech        UOP -           Non Disclosure -       2/1/2004     100                     2/1/2104
Engineers      Penex/South     Penex/South
               Refinery        Refinery Basra
               Basra Iraq      Iraq

Ventech Eng    BP              Confidentiality      11/10/2005     100                   11/10/2105                                                                                            11/10/2105
Int’l          Corporation     Agreement
               North
               America
Ventech Eng    BP              Confidentiality       12/1/2005     100                    12/1/2105                                                                                             12/1/2105
Int’l          Corporation     Agreement
               North
               America
Ventech Eng    Haldor          Confidentiality       2/21/2006     25                     2/21/2031                                                                                             2/21/2031
Int’l          Topsoe A/S      Agreement
Ventech        GTC             Nondisclosure          5/9/2006     15                      5/9/2021                                                                                              5/9/2021
Engineers      Technology,     Agreement
               Inc.
Ventech Inc.   Sanders         Confidentiality       3/20/2007     100                    3/20/2107                                                                                             3/20/2107
               Morris Harris   Agreement
Ventech Inc.   Simmons &       Confidentiality       3/21/2007     100                    3/21/2107                                                                                             3/21/2107
               Company         Agreement
               International
Ventech Eng    CAM             Confidentiality    5/11/2007   100   5/11/2107                                                                      5/11/2107
Int’l          Environmenta    Agreement
               l Services
Ventech Eng    INEOS           Confidentiality     7/2/2007   10     7/2/2017                                                                       7/2/2017
Int’l          Olefins &       Agreement
               Polymers
               USA
Ventech        Weatherly,      Non-Disclosure     2/21/2008   10    2/21/2018                                                                      2/21/2018
Engineers      Inc./Chematu    Agmt
               r Eng.
Ventech        UOP             Disclosure Non-    5/19/2008   100   5/19/2108
Engineers                      Disclosure –
                               Ecofining
                               Process




                                                                                Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 28 of 43
Ventech        GLTpetrol       Confidentiality    2/10/2009   100   2/10/2109                                                                      2/10/2109
Engineers      LLC
Ventech        Western         Confid.            12/8/2009   10    12/8/2019                                                                      12/8/2019
Engineers      International   Agreement
               Gas &
               Cylinder
Ventech        Jeian General   Non-Disclosure      3/8/2010   100    3/8/2110                                                                       3/8/2110
Engineers      Trading

Ventech Inc.   Ghazanfar   Confid. Non-           5/17/2010   100   5/17/2110                                                                      5/17/2110
               Group       Circumvent
                           Agmt
Ventech        Axens (YPF) Confidentiality        5/28/2010   25    5/28/2035                                                                      5/28/2035
Offshore                   Agreement
Ventech        UOP         Non Disclosure -       5/28/2010   100   5/28/2110                                                                      5/28/2110
Engineers      Condensate/ Condensate/Ka
               Kazahkstan zahkstan

Ventech        UOP             Non-Disclosure -   7/16/2010   100   7/16/2110                                                                      7/16/2110
Engineers                      Alon Refinery (
                               not signed)

Ventech        UOP - PSA       Non-disclosure     9/29/2010   100   9/29/2110                                                                      9/29/2110
Engineers      System &        Letter Confid.
               Separex         Agmt.
               System
Ventech        Haldor          Confid.            2/24/2011   100   2/24/2111                                                                      2/24/2111
Companies      Topsoe          Agreement
Ventech        Equistar        Confid.            6/27/2011   100   6/27/2111                                                                      6/27/2111
Engineers      Chemicals       Agreement
Ventech        Merichem        Confid.             8/2/2011   100    8/2/2111                                                                       8/2/2111
Engineers      Chemical        Agreement
Ventech        CITGO           Confidentiality    10/5/2011   100    10/5/2111                                                                             10/5/2111
Energy         Petroleum       Agreement
               Corpl
Ventech Eng    Calumet         Non Disclosure      2/1/2012   100     2/1/2112                                                                              2/1/2112
Int’l          Speciality      Agreement
               Products
               Parnters
Ventech Eng    Haldor          Confidentiality     3/5/2012   100     3/5/2112                                                                              3/5/2112
Int’l LLC      Topsoe A/S      Agreement
Ventech Eng    LSB             Confid.            5/12/2012   100    5/12/2112   100                                                                       5/12/2212
Int’l          Chemical        Agreement
               Corp.
Ventech Eng    GTC             Non-Disclosure      6/5/2012   15      6/5/2027                                                                              6/5/2027
Int’l          Technology      Agreement
               US, LLC




                                                                                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 29 of 43
Ventech Eng    Alabama         Mutual Non-        6/18/2012    5     6/18/2017                                                                             6/18/2017
Int’l          Laser           Disclosure
               Systems
Ventech Eng    Tech-Etch,      Mutual             6/18/2012    5     6/18/2017                                                                             6/18/2017
Int’l          Inc.            Confidentiality
                               Agmt
Ventech Eng     Calumet        Master Service      7/2/2012   100     7/2/2112                                                                              7/2/2112
Int’l           Speciality     Agreement
                Products
                Parnters
Ventech         (INO STC)      Non Disclosure      8/7/2012    5      8/7/2017    5                                                                         8/7/2022
Engineers Int’l TECHNOPR       Agreement
                OGRESS
Ventech         Paqell B.V.    Non Disclosure      8/8/2012   25      8/8/2037                                                                              8/8/2037
Engineers                      Agreement
Holding BV
Ventech Eng     URS            NonDisclosure       8/9/2012   10      8/9/2022                                                                              8/9/2022
Int’l           Corportation   Agreement
Ventech Eng     SK E&C USA     Non-Disclosure      9/5/2012    5      9/5/2017                                                                              9/5/2017
Int’l                          Agreement

Ventech Eng    Axens SA        Non-Disclosure    10/17/2012    5    10/17/2017    5                                                                       10/17/2022
Int’l                          Agreement

Ventech Eng    Bechtel         Nondisclosure     10/19/2012   20    10/19/2032                                                                            10/19/2032
Int’l          Hydrocarbon     Agreement
               Technology
               Solutions
Ventech Eng    Smith &         Non-Disclosure     11/2/2012    5     11/2/2017    5                                                                        11/2/2022
Int’l          Burgess LLC     Agreement

Ventech        TMF             Non Disclosure    11/15/2012    5    11/15/2017    5                                                                       11/15/2022
Engineers LP   Netherlands     Agreement
               BV
Ventech         Praxair, Inc.   Non-disclosure    12/19/2012    5    12/19/2017   5                                                                      12/19/2022
Engineers Int’l                 Agreement
Ventech Eng     Echosphere      Non Disclosure      1/1/2013    5      1/1/2018   5                                                                        1/1/2023
Int’l           Energy LLC      Agreement

                American        Mutual Non-         1/7/2013    5      1/7/2018   5                                                                        1/7/2023
                Energie         Disclosure
                Future LLC      Agreement
                (AEF)
Ventech         Inovativ        Non Disclosure     1/11/2013    5     1/11/2018   5                                                                       1/11/2023
Engineers       Solutions       Agreement

Ventech Eng     Tenaska, Inc Mutual Non-           1/23/2013    5     1/23/2018   5                                                                       1/23/2023
Int’l                        Disclosure
                             Agreement




                                                                                      Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 30 of 43
Ventech Eng     Westcon      Non Disclosure         2/4/2013    5      2/4/2018   5                                                                        2/4/2023
Int’l           Incorporated Agreement

Ventech Eng     UOP Ch Sarl NonDisclosure           2/8/2013    5      2/8/2018   3                                                                        2/8/2021
Int’l                       Agreement
Ventech         Merichem    Non-Disclosure         2/13/2013    5     2/13/2018   5                                                                       2/13/2023
Engineers       Chemical    Agreement
Holding BV
                Tauber Oil      Confidentiality    2/14/2013   100    2/14/2113
                Company         Agreement
Ventech Eng     Well            Confidentiality    2/14/2013   100    2/14/2113                                                                           2/14/2113
Int’l           Resources       Agreement
                Inc.
Ventech Eng     HRT O&G         Non-Disclosure     2/28/2013    5     2/28/2018   0                                                                       2/28/2018
Int’l           Exploracao e    Agreement
                Producao de
                Petroleo Ltda

Ventech Eng     Swan Hills      Non Disclosure      3/1/2013    5      3/1/2018   5                                                                        3/1/2023
Int’l           Synfuels LP     Agreement

Ventech         Fiore,          Non Disclosure     3/12/2013    5     3/12/2018   5                                                                       3/12/2023
Engineers Int’l Leonard S,      Agreement
                Inc.
Ventech Eng     LIFE Power &    Non-Disclosure      4/2/2013    5      4/2/2018   3                                                                        4/2/2021
Int’l           Fuels LLC       Agreement

Ventech Eng     Wabash       Non-Disclosure         4/4/2013    5      4/4/2018   5                                                                        4/4/2023
Int’l           Valley Power Agreement
                Association
                Inc.
Ventech         Viewpoint       Confid. Agmt.      4/9/2013    5     4/9/2018                                                                           4/9/2018
Process Equip Energy/
                Bohen
                Equipment
Ventech         NovelEdge       Non Disclosure    4/23/2013    5    4/23/2018   5                                                                      4/23/2023
Engineers Int’l Technologies    Agreement
                LLC
Ventech Eng     Yug-Neftegaz    Non-Disclosure    4/29/2013    5    4/29/2018   5                                                                      4/29/2023
Int’l           Private Ltd.    Agreement

Ventech Eng       Connecticut Non Disclosure      4/30/2013    5    4/30/2018   5                                                                      4/30/2023
Int’l             Clean Energy Agreement
                  & Fuels

Ventech         PHG Energy      Non Disclosure    5/17/2013    5    5/17/2018   5                                                                      5/17/2023




                                                                                    Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 31 of 43
Engineers Int’l                 Agreement

Ventech         Environmenta NonDisclosure        5/21/2013    5    5/21/2018   5                                                                      5/21/2023
Engineers Int’l l Refuelling Agreement
                Systems Inc.

Ventech           Merichem      Confidentiality   5/22/2013   100   5/22/2113                                                                          5/22/2113
Engineers Int’l   Company       agreement
Ventech           Merichem      Confidentiality   5/31/2013   100   5/31/2113                                                                          5/31/2113
Modular           Company       Agreement
Fabricators,
LLC
Ventech Eng       Preferred     Non Disclosure     6/1/2013    5     6/1/2018   5                                                                       6/1/2023
Int’l             Engineering   Agreement

Ventech         Hand &          Non Disclosure     6/5/2013    5     6/5/2018   5                                                                       6/5/2023
Engineers Int’l Associates,     Agreement
                Inc.
Ventech         Energy          Non-Disclosure    6/12/2013    5    6/12/2018   5                                                                      6/12/2023
Engineers Int’l Alliance AD     Agreement

Ventech         Diamante        Non Disclosure    6/21/2013    5    6/21/2018   5                                                                      6/21/2023
Engineers Int’l Investmentos    Agreement
                LDA
Ventech         Alaska          Non Disclosure     7/8/2013    5     7/8/2018   5                                                                       7/8/2023
Engineers Int’l Nautral         Agreement
                Resources to
                Liquids LLC

Ventech         Acrion       Non Disclosure        7/9/2013    5     7/9/2018   5                                                                       7/9/2023
Engineers Int’l Technologies Agreement
                Inc.
Ventech         Principal        Non-Disclosure     7/13/2013   100    7/13/2113                                                                             7/13/2113
Engineers Int’l Technology       Agreement
                Inc
Ventech         Stern            Non Disclosure     7/30/2013    5     7/30/2018    5                                                                        7/30/2023
Engineers Int’l Brothers         Agreement

Ventech         B.e Energy       Non Disclosure     7/31/2013    5     7/31/2018    5                                                                        7/31/2023
Engineers Int’l Group            Agreement

Ventech         Refinery of      Non Disclosure      8/6/2013   100     8/6/2113                                                                              8/6/2113
Engineers Int’l Illinois LCA     Agreement
                Ltd,
Ventech         Oil & Gas        Non Disclosure     8/12/2013    5     8/12/2018    5                                                                        8/12/2023
Engineers Int’l Safety           Agreement
                Energodiagno




                                                                                         Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 32 of 43
                stika LLC
Ventech         Invensys         Non Disclosure     8/19/2013    5     8/19/2018                                                                             8/19/2018
Engineers Int’l Systems, Inc.    Agreement

Ventech         KBC              Non Disclosure     8/20/2013    5     8/20/2018                                                                             8/20/2018
Engineers Int’l Advanced         Agreement
                Technology
Ventech         Essense          Non Disclosure      9/2/2013    5      9/2/2018    5                                                                         9/2/2023
Engineers Int’l International    Agreement

Ventech         EO               Non Disclosure     9/20/2013    5     9/20/2018    5                                                                        9/20/2023
Engineers Int’l Engineering      Agreement
                Safety
Ventech         InEnTec Inc.     Non Disclosure     9/25/2013   100    9/25/2113                                                                             9/25/2113
Process Equip                    Agreement

Ventech         Johnson      Non Disclosure         9/26/2013   100    9/26/2113                                                                             9/26/2113
Engineers Int’l Matthey Davy Agreement
                Technologies
                Limited

Ventech Eng     Technoprome Non Disclosure          10/2/2013    5     10/2/2018    5                                                                        10/2/2023
Int’l           x,
                Engineering
                & Consulting
                Center
Ventech         Muse Stancil Non Disclosure         10/4/2013    5     10/4/2018    5                                                                        10/4/2023
Engineers Int’l & Co.        Agreement

Ventech           INEOS USA      Confidentiality   10/30/2013   100   10/30/2113   100                                                                      10/30/2213
Appraisal         LLC            Agreement
Ventech           ProCorr        Non Disclosure    12/10/2013    5    12/10/2018    5                                                                       12/10/2023
Engineers Int’l   Consulting     Agreement
                  Services LLC
Ventech         Alliant Group Non Disclosure         4/10/2014    5    4/10/2019   5                                                                      4/10/2024
Engineers Int’l               Agreement

Ventech         JR Blanchard Non Disclosure          4/10/2014    5    4/10/2019   5                                                                      4/10/2024
Engineers Int’l              Agreement

Ventech         Griffin         Non-Disclosure       4/13/2014    5    4/13/2019   5                                                                      4/13/2024
Engineers Int’l Communicati     Agreement
                ons Group
Ventech         Edwards         Confid               5/12/2014   100   5/12/2114                                                                          5/12/2114
Engineers Int’l Energy          Agreement
                Consultants
Ventech         Hancock         Non Disclosure       5/19/2014    3    5/19/2017                                                                          5/19/2017
Engineers Int'l Energy          Agreement




                                                                                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 33 of 43
Ventech Eng     Haldor          Confidentiality      5/21/2014   100   5/21/2114                                                                          5/21/2114
Int’l           Topsoe A/S      Agreement -
                                Fertilizer plant -
                                Alberta
Ventech         Kokosing        Confidentiality      5/21/2014    3    5/21/2017   2                                                                      5/21/2019
Engineers Int’l Construction    Agreement
                Company
Ventech         LP Amina        Confidentiality      5/21/2014    6    5/21/2020                                                                          5/21/2020
Engineers Int’l LLC             Agreement
Ventech XTL Leiston             Mutual Non           5/28/2014    3    5/28/2017   2                                                                      5/28/2019
LLC             Holdings        Disclosure
                Limited         Agreement
Ventech         TCG Global,     Non Disclosure       6/10/2014    3    6/10/2017   2                                                                      6/10/2019
Engineers Int’l LLC             Agreement

Ventech         Foster          Confidentiality      6/12/2014    3    6/12/2017                                                                          6/12/2017
Engineers Int’l Wheeler         Agreement
                Canada
                Limited
Ventech         Kinder          Non Disclosure       6/16/2014    3    6/16/2017   2                                                                      6/16/2019
Engineers Int’l Morgan          Agreement
                Liquids
                Terminals
                LLC
Ventech XTL C.H.                Non Disclosure       7/10/2014    3    7/10/2017   2                                                                      7/10/2019
LLC             Robinson        Agreement
                Project
                Logistics Inc
Ventech         Novus Wood      Non Disclosure       7/16/2014    3    7/16/2017   2                                                                      7/16/2019
Engineers Int’l Group, LP       Agreement

Ventech         Energia         Non Disclosure       7/30/2014    3    7/30/2017   2                                                                      7/30/2019
Engineers Int’l Limited         Agremeent
Ventech         Agilyx           Non Disclosure     8/20/2014    3     8/20/2017   2                                                                       8/20/2019
Engineers Int’l                  Agreement

Ventech         Rice Energy      Non Disclosure     8/20/2014    3     8/20/2017   1                                                                       8/20/2018
Engineers Int’l Inc              Agreement

Ventech         Shell Oil    Non Disclosure          9/2/2014    5      9/2/2019                                                                            9/2/2019
Engineers Int’l Products Co. Agmt - DHT
                LLC          Serv.

Ventech         Aramco           Non Disclosure      9/3/2014    5      9/3/2019   5                                                                        9/3/2024
Engineers Int’l Services Co      Agreement

Ventech         NRG Energy, Non Disclosure           9/3/2014    3      9/3/2017   2                                                                        9/3/2019
Engineers Int’l Inc.        Agreement




                                                                                       Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 34 of 43
Ventech         Hispania         Non Disclosure     9/15/2014    3     9/15/2017   2                                                                       9/15/2019
Engineers Int’l Petroleum        Agreement
                S.A.
Ventech         Range            Non Disclosure     9/16/2014    3     9/16/2017   2                                                                       9/16/2019
Engineers Int’l Resources -      Agreement
                Appalaqchia
                LLC
Ventech         Borkir           Non Disclosure     9/23/2014    3     9/23/2017   2                                                                       9/23/2019
Engineers Int’l International    Agreement
                Co. Ltd.
Ventech         ND Ventures      Non Disclsoure     9/23/2014    3     9/23/2017   2                                                                       9/23/2019
Engineers Int’l LTd.             Agreement

Ventech         Reliant Oil      Non-Disclosure     9/26/2014    3     9/26/2017   2                                                                       9/26/2019
Engineers Int’l and              Agreement
                Petrochemica
                ls LLC
Ventech         Haldor           Confidentiality    10/1/2014   100    10/1/2114
Engineers Int'l Topsoe A/S       Delcaration
                Denmark
Ventech         Parnel Biogas    Mutual Non-        10/1/2014    3     10/1/2017   2                                                                       10/1/2019
Engineers Int’l Inc              Disclosure
                                 Agreement
Ventech         Siad             Non-Disclosure    10/16/2014    3    10/16/2017   2                                                                      10/16/2019
Engineers Int’l Macchine         Agreement
                Impianti S.p.A

Ventech         Groupe Jean Non Disclosure         10/17/2014    3    10/17/2017   2                                                                      10/17/2019
Engineers Int’l Vorbe       Agreement

Ventech         ECAD, Inc.       Non Disclosure    10/27/2014    5    10/27/2019   5                                                                      10/27/2024
Engineers Int’l                  Agreement
Ventech         EFG America Non Disclosure          11/10/2014    3    11/10/2017   2                                                                      11/10/2019
Engineers Int’l LLC         Agreement

Ventech         PIMSA             Non Disclosure    11/11/2014    3    11/11/2017   2                                                                      11/11/2019
Engineers Int’l (Procesos         Agreement
                Industriales
                Maya)
Ventech         EPIC Oil          Non Disclosure    11/12/2014   10    11/12/2024   7                                                                      11/12/2031
Engineers Int’l Extractors        Agreement
                LLC
Ventech Eng     Haldor            Confidentiality   11/19/2014   100   11/19/2114
Int’l           Topsoe A/S        Agreement
Ventech         Greater           Non Disclosure      1/5/2015    3      1/5/2018   2                                                                        1/5/2020
Engineers Int’l Houston           Agreement
                Partnership




                                                                                        Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 35 of 43
Ventech         Impact Data       Non Disclosure      1/5/2015    3      1/5/2018   2                                                                        1/5/2020
Engineers Int’l Source            Agreement

Ventech           Haldor          Confidentiality     1/7/2015   100     1/7/2115
Companies         Topsoe          Agreement
Ventech           NextStep        Non Disclosure     1/12/2015    3     1/12/2018   2                                                                       1/12/2020
Engineers Int’l   Renewable       Agreement
                  Energy
Ventech           Abeinsa EPC     Non Disclosure     1/13/2015    3     1/13/2018   5                                                                       1/13/2023
Engineers Int’l                   Agreement

Ventech         FluidOil          Non Disclosure     1/26/2015    3     1/26/2018   2                                                                       1/26/2020
Engineers Int’l Limited
Ventech         Frontline         Non Disclosure      2/5/2015    3      2/5/2018   2                                                                        2/5/2020
Engineers Int’l BioEnergy
                LLC
Ventech         Invista           Non Disclosure      2/6/2015    3      2/6/2018   5                                                                        2/6/2023
Engineers Int’l Technologies      Agreement

                  Praxair, Inc.
                             Non-disclosure          2/17/2015   10     2/17/2025   1                                                                       2/17/2026
                             Agreement
Ventech         Clean Energy Non-Disclosure          2/25/2015    3     2/25/2018   2                                                                       2/25/2020
Engineers Int’l              agreement

Ventech         Fitroleum         Non Disclosure     2/27/2015    5     2/27/2020   5                                                                       2/27/2025
Engineers Int’l Biochemicals      Agreement
                GmbH
Ventech         Sable Power       Non-Disclosure      3/6/2015    5      3/6/2020   5                                                                        3/6/2025
Engineers Int’l and Gas LLC       Agreement

Ventech Eng       Global          Non Disclosure     3/27/2015    3     3/27/2018   2                                                                       3/27/2020
Int’l             Resources       Agreement
Ventech         Cassandra       Non Disclosure     4/8/2015    3     4/8/2018   2                                                                        4/8/2020
Engineers Int’l Oil AB          Agreement

Ventech           Mason,        Non Disclosure     5/6/2015    2     5/6/2017   2                                                                        5/6/2019
Engineers Int’l   Kefalari      Agreement
Interviewees
(file name)
Ventech         Chevron         Non Disclosure    5/11/2015    2    5/11/2017   1                                                                       5/11/2018
Engineers Int’l Natural         Agreement
                Gas/Haldor
                Topsoe
Ventech         Global          Non Disclosure    5/13/2015    3    5/13/2018   2                                                                       5/13/2020
Engineers Int’l Energy          Agreement
                Development
Ventech         Transfield      Non Disclosure    5/14/2015    3    5/14/2018   2                                                                       5/14/2020




                                                                                     Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 36 of 43
Engineers Int'l Services        Agreement
                (Australia)
Ventech         Loenbro         Non Disclosure    5/21/2015    3    5/21/2018   2                                                                       5/21/2020
Engineers Int’l                 ?Agreement

Ventech         Shell EP        Confidentiality    6/2/2015   100    6/2/2115                                                                            6/2/2115
Engineers Int’l International   Agreement
                Ltd.
Ventech         Meridian        Confidentiality   6/15/2015    3    6/15/2018   1                                                                       6/15/2019
Engineers Int’l Chemicals       Agreement
                LLC
Ventech         Barr            Non Disclosure    7/21/2015    3    7/21/2018   2                                                                       7/21/2020
Engineers Int’l Engineering     Agreement
                Company
Ventech         Aemetis, Inc.   Non Disclosure    7/23/2015    2    7/23/2017
Engineers Int’l                 Agreement

Ventech         Aramco          Non Disclosure     8/3/2015    5     8/3/2020   5                                                                        8/3/2025
Engineers Int’l Services Co     Agreement

Ventech         Tessenderlo     Non Disclosure     8/7/2015    7     8/7/2022   7                                                                        8/7/2029
Engineers Int’l Kerley, Inc.    Agreement

Ventech         XTS Energy      Mutual Non-        9/2/2015    3     9/2/2018   2                                                                        9/2/2020
Engineers Int’l LLC (not        Disclosure
                signed)         Agreement
                Praxair, Inc.   Non-disclosure    9/14/2015    3    9/14/2018   10                                                                      9/14/2028
                                Agreement
Ventech         BP Refinery     Confidentiality   9/16/2015    7    9/16/2022                                                                           9/16/2022
Engineers Int’l (Bulwer         Agreement
                Island) Pty
                Ltd.
Ventech         Mace            Confidentiality     9/17/2015    2     9/17/2017                                                                            9/17/2017
Engineers Int’l Petroleum       Agreement
                Resources
                and Services
                Ltd.
Ventech         Purification    Non Disclosure      9/23/2015    7     9/23/2022   5                                                                        9/23/2027
Engineers Int’l Solutions       Agreement

Ventech           ALS            Confidentiality   10/15/2015    2    10/15/2017                                                                           10/15/2017
Engineers Int’l   International Agreement
Ventech           Renewable      Confidentiality   10/16/2015   100   10/16/2115                                                                           10/16/2115
Engineers Int’l   Energy Group Agreement
                  Inc
Ventech Eng       Virtual        Non Disclosure    10/16/2015    3    10/16/2018   2
Int’l             Engineering Agmt




                                                                                        Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 37 of 43
                  Operations
                  LLC                                                                                                                                      10/16/2020
                  Velocys, LLC - Mutual            10/23/2015    2    10/23/2017   15                                                                      10/23/2032
                  POSCO          Confidential
                  Engineering Disclosure
                  &              Agreement
                  Construction
                  Co.

Ventech         Crescent        Non Disclosure     10/28/2015    2    10/28/2017                                                                           10/28/2017
Engineers Int’l Point Energy    Agreement
                Corp.
Ventech         Paramold        Non Disclosure      11/3/2015   15     11/3/2030                                                                            11/3/2030
Engineers Int’l Manufacturin    Agreement
                g
Ventech         MVS             Non Disclosure     11/13/2015    3    11/13/2018   2                                                                       11/13/2020
Engineers Int’l Consulting      Agreement
                LLC
Ventech         Energy          Non Disclosure      12/3/2015    3     12/3/2018   2                                                                        12/3/2020
Engineers Int’l Security        Agreement
                Partners, LLC
                (ESP)
Ventech         GR Palmer       One Way Non-       12/11/2015    5    12/11/2020   5                                                                       12/11/2025
Engineers       Consulting      Disclosure
Holding BV      Services        Agreement
Ventech                         Non Disclosure     12/14/2015    5    12/14/2020                                                                           12/14/2020
Engineers Int’l                 Agreement
                  Enerkem Inc
Ventech         Federated Co- Mutual               12/15/2015    3    12/15/2018   2                                                                       12/15/2020
Engineers Int’l operatives    Confidentiality
                Limited       Agmt

Ventech         Maple Gas       Mutual Non-          1/5/2016    3      1/5/2019   2                                                                         1/5/2021
Engineers Int’l Corp            Disclosure
Ventech         MTR           Mutual Non-          1/18/2016   3   1/18/2019   2                                                                       1/18/2021
Engineers Int'l Membrane      Disclosure
                Technology & Agreement
                Research Inc.

Ventech         Holly Frontier Mutual              1/20/2016   2   1/20/2018   1                                                                       1/20/2019
Engineers Int'l Refining &     Confidentiality
                Marketing      Agmt

Ventech         ZEEP          Mutual Non-                           2/3/2019                                                                            2/3/2021
Engineers Int'l               Disclosure
                              Agreement            2/3/2016    3               2
                Velocys, LLC Mutual                2/11/2016   5   2/11/2021   10                                                                      2/11/2031
                              Confidential
                              Disclosure




                                                                                    Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 38 of 43
                              Agreement
                              Amend 4
Ventech         REK Energy Mutual Non              2/22/2016   3   2/22/2019   2                                                                       2/22/2021
Engineers Int'l LLC           Disclosure
                              Agreement
Ventech         Maple         Mutual Non            3/5/2016   3    3/5/2019   2                                                                        3/5/2021
Engineers Int'l Resources     Disclosure
                Corp. and     Agreement
                Maple Int’l
                Development
Ventech Eng     Calvert Group Non Disclosure       3/18/2016   3   3/18/2019   2                                                                       3/18/2021
Int'l           Belgium, NV Agreement

                Ain Khudairi     Confidentiality    4/1/2016   3    4/1/2019   2                                                                        4/1/2021
                Trading &        Agreement
                Contracting
                Co. (AKTCC)
                Prios Industry   General           4/19/2016   2   4/19/2018                                                                           4/19/2018
                Systems &        Confidentiality
                Services UG      Agreement
                (Ltd.)

                Senergy LLC Non Disclosure         4/20/2016   7   4/20/2023                                                                           4/20/2023
                            Agreement

Ventech Eng     Greenyug         Confidentiality   5/10/2016   3   5/10/2019                                                                           5/10/2019
Int’l           LLC              Agreement
Ventech Eng     Todd Energy      Mutual Non-       5/17/2016   3   5/17/2019
Int’l           Canada           Disclosure
                Limited          Agreement
Ventech Eng     Global           Mutual Non-       5/25/2016   5   5/25/2021   5                                                                       5/25/2026
Int’l           Thermostat       Disclosure
                                 Agreement
Ventech         DuPont De       Confidentiality    5/26/2016   20    5/26/2036                                                                            5/26/2036
Engineers Int’l Nemours &       Agreement
                Company
Ventech         Innovative      Mutual Non-        5/31/2016   3     5/31/2019   2                                                                        5/31/2021
Engineers Int'l Clear Choice    Disclosure
                Technologies    Agreement
                Inc
                Five (5) Star   Non Disclosure      6/2/2016   2      6/2/2018
                Refinery LLC    Agreement

Ventech Eng     Ventech      Non Disclosure         6/9/2016   10     6/9/2026
Int'l           Engineers    Agreement
                Int'l Staff
                Member (Rick
                Beaubien)




                                                                                      Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 39 of 43
                Reaction 35   Mutual Non-           7/1/2016   3      7/1/2019   10                                                                        7/1/2029
                LLC           Disclosure
                              Agreement
                A.I.R. Global Mutual Non-          7/14/2016   3     7/14/2019   2                                                                        7/14/2021
                              Disclosure
                              Agreement
Ventech         Petrochemica Confidentiality       7/19/2016   3     7/19/2019                                                                            7/19/2019
Engineers Int'l l Holding     Agreement
                GmbH
Ventech         Infra         Non-Disclosure       7/27/2016   3     7/27/2019
Engineers Int'l Financials    Agreement
                and
                Industries
                PLC
Ventech         John Karras Non-Disclosure         8/26/2016   3     8/26/2019   2                                                                        8/26/2021
Engineers Int'l               Agreement

Ventech         Axens North Confidentiality         9/1/2016   25     9/1/2041
Engineers Int'l America, Inc. Agreement

Ventech         Advanced        Mutual            10/17/2016   5    10/17/2021
Engineers Int'l Green           Corporate/Busi
                Technologies    ness
                LLC             Nondisclosure
                                Agreement
Ventech Eng     Lyondell        Confidentiality    11/2/2016   3     11/2/2019   25                                                                       11/2/2044
Int'l           Basell          Agreement
Ventech         Hilco Global    Non Disclosure    12/20/2016   5    12/20/2021   5                                                                       12/20/2026
Engineers Int’l                 Agreement

Ventech Eng     Greenergy       Non-Disclosure    12/22/2016   3    12/22/2019                                                                           12/22/2019
Int’l           International   Agreement
                Limited
Ventech Eng     Sonol Isreal    Mutual Non-        1/30/2017   1   1/30/2018   1                                                                      1/30/2019
Int'l           Ltd.            Disclosure
                                Agreement
Ventech         Renco           Mutual Non-         2/3/2017   3    2/3/2020   2                                                                       2/3/2022
Engineers Int’l                 Disclosure
                                Agreement
Ventech         AlphaHawk       Confidentiality    2/17/2017   5   2/17/2022
Engineers Int'l Group           & Non-
                                Disclosure
                                Agreement
                Greenfield      Non Disclosure     2/22/2017   1   2/22/2018
                Speciality      Agreement
                Alcohols Inc.
Ventech         HDR             Mutual Non-        2/28/2017   3   2/28/2020   2                                                                      2/28/2022
Engineers Int'l Engineering,    Disclosure




                                                                                   Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 40 of 43
                Inc.            Agreement
                CARG            Mutual Non-         3/1/2017   3    3/1/2020   2                                                                       3/1/2022
                Central         Disclosure
                American        Agreement
                Resources
                Group Inc.
Ventech         AECOM           Confidentially &   3/13/2017   1   3/13/2018
Engineers Int'l Energy &        Non-Disclosure
                Construction    Agreement
                Inc.
Ventech         Alan Isserlis Mutal Non            3/21/2017   3   3/21/2020   2                                                                      3/21/2022
Engineers Int'l               Disclosure
                              Agreement
                Chiron        Non Disclosure       3/29/2017   1   3/29/2018
                Financial LLC Agreement

                Ecopuerto       Non Disclosure     3/30/2017   3   3/30/2020   2                                                                      3/30/2022
                S.A.S.          Agreement

Ventech         Mastec, Inc Mutal Non              3/30/2017   1   3/30/2018
Engineers LP                Disclosure
                            Agreement
Ventech         Nalco       Mutual Non-            3/30/2017   2   3/30/2019
Engineers Int'l             Disclosure
                            Agreement
Ventech         PPHB LP     Mutual Non-            3/31/2017   1   3/31/2018                                                                          3/31/2018
Engineers LP                Disclosure
                            Agreement
Ventech         ProPak      Mutual Non-            4/18/2017   1   4/18/2018
Engineers Int'l Systems Ltd Disclosure
                            Agreement
Ventech         PMD Energy Mutual Non-              5/1/2017   1    5/1/2018                                                                           5/1/2018
Engineers LP Group          Disclosure
                            Agreement
Ventech        CTCI       Mutual Non-   4/17/2017   1   4/17/2018                                                                      4/17/2018
Engineers LP   Americas   Disclosure
                          Agreement
Ventech        Primoris   Mutual Non-    4/5/2017   1    4/5/2018                                                                       4/5/2018
Engineers LP   Services   Disclosure
               Corp       Agreement
Ventech        Guggenheim Mutual Non-    4/4/2017   1    4/4/2018                                                                       4/4/2018
Engineers LP   Securities Disclosure
                          Agreement




                                                                    Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 41 of 43
Attachment to Form 206G --- Schedule G: Settlement Agreements


Entity   Name                                  Address                             City, State, ZIP                                                                               Type of Contract

VELP     Westchester Fire Insurance Company    15 Mountain View Road, P.O. Box 1616 Warren, New Jersey 07059                                                                      settlement agreement
         Buckeye Partners LP, Buckeye Texas
         Processing LLC, and Buckeye Texas
VELP     Partners LLC                          One Greenway Plaza • Suite 600 •    Houston, Texas 77046                                                                           settlement agreement
VELP     ENVIA Energy Oklahoma City, LLC       1021 Main Street, Suite 1000        Houston, Texas 77002                                                                           settlement agreement




                                                                                                               Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 42 of 43
            Case 17-33203 Document 3 Filed in TXSB on 05/26/17 Page 43 of 43


Attachment to Form 206H --- Schedule H: Codebtors


Debtor                                 Address                                 Creditor
Ventech Engineers LLC                  100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Engineers LP                   100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Energy LLC                     100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Engineers International LLC    100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Fabrication Services LLC       100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Engineers North America LLC    100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Engineers USA LLC              100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Vessel Fabricators LLC         100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Global Projects, Inc.          100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech International Projects LLC     100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Global Construction LLC        100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Modular Fabricators LLC        100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Refining Solutions LLC         100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Plant Constructors LLC         100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Engineers & Fabricators LLC    100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Industrial Contractors LLC     100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech XTL LLC                        100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech XTL Oklahoma City LLC          100 Pasadena Blvd. Pasadena, TX 77506   Bank of America
Ventech Engineers LP                   100 Pasadena Blvd. Pasadena, TX 77506   Five Star Properties
Ventech Engineers International LLC    100 Pasadena Blvd. Pasadena, TX 77506   Five Star Properties
